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10
                             IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

13

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15   EMMA C., et al.,                                  3:96-cv-04179-VC

16                                        Plaintiffs, STATE DEFENDANTS’ PHASE 3
                                                      DESIGN SUB-PHASE SUBMISSION
17                 v.
                                                       Judge: The Honorable Vince Chhabria
18
     THURMOND, et al.,
19
                                        Defendants.
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                                       STATE DEFENDANTS’ PHASE 3 DESIGN SUB-PHASE SUBMISSION
                                                                              (3:96-cv-04179-VC)
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 1          Pursuant to the Court’s August 11, 2021 Order Regarding Evidentiary Hearings on Phase

 2   3 Design Sub-Phase (Dkt. 2658) (8/11/21 Order), Defendants California Department of Education

 3   (CDE), Tony Thurmond, in his official capacity as the State Superintendent of Public Instruction,

 4   and State Board of Education (SBE) (collectively, State Defendants or the State) hereby submit

 5   State Defendants’ Compliance Report – Phase 3 Design of Monitoring and Enforcement

 6   Activities, attached hereto as Exhibit 1, to demonstrate that the State’s design (and proposed

 7   design) of its monitoring and enforcement activities is in compliance with federal law. Further, in

 8   accordance with the 8/11/21 Order, the Report includes updates regarding the State’s recently

 9   adopted State Performance Plan (SPP) targets submitted to the Office of Special Education

10   Programs (OSEP) and the State’s proposed use of restraint and seclusion data. The Report also

11   includes updates regarding the State’s activities with respect to IEP Implementation data

12   collection.

13

14   Dated: April 15, 2022                                Respectfully Submitted,
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                                                          and State Board of Education
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                                                                               (3:96-cv-04179-VC)
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Introduction
The Court is examining the State’s compliance with its monitoring and enforcement
obligations under the Individuals with Disabilities Education Act (“IDEA”) in four phases.
The Court has bifurcated Phase 3 to examine first, the State’s design of monitoring and
enforcement activities and then the implementation of these activities with fidelity. (Dkt.
2658). This Compliance Report (“Report”) provides descriptions of the monitoring
activities associated with both targeted and intensive monitoring to demonstrate the
applied activities are reasonably designed to improve educational results and functional
outcomes. This Report further demonstrates that California Department of Education
(CDE) applies appropriate enforcement mechanisms based on each local educational
agency’s (“LEA’s”) Annual Determination under IDEA, and effective identification and
correction of noncompliance in the priority areas. (Dkt. 2651).

The remaining data analysis and use issues for Phase 2 that have yet to receive a
ruling are also included in this Report. The Report includes the newly-adopted State
Performance Plan (“SPP”) targets currently under the review by the Office of Special
Education Programs (“OSEP”). The Report also provides an update regarding state
level activities with respect to restraint and seclusion and the individualized education
program (“IEP”) implementation data collection pilot.

The majority of the State’s monitoring and enforcement obligations and provision of
technical assistance to LEAs arise from 20 U.S.C. § 1416. Pursuant to 20 U.S.C. §
1416 and implementing regulations, 34 C.F.R. § 300.600 et seq., states are required to
monitor the LEAs within the state for compliance with program requirements under
IDEA Part B, with the aim of improving the educational results and functional outcomes
for students with disabilities (“SWD”). In this Report, the State will demonstrate that its
monitoring and enforcement activities are reasonably designed to achieve this federal
directive. Further, the State will also demonstrate that its monitoring and enforcement
activities are designed to be effective; essentially, that the activities support LEAs in
their efforts to improve the educational results and functional outcomes of their SWDs.

CDE’s Approach Toward Special Education Monitoring to
Meet Federal Monitoring Requirements
The majority of the State’s monitoring and enforcement obligations and provision of
technical assistance to LEAs arise from 20 U.S.C. § 1416 and implementing
regulations, 34 C.F.R. § 300.600 et seq. Congress’s stated intent in the IDEA is that the
education of students with disabilities (“SWD”) can be made more effective if educators
have high expectations for SWD and ensure their access to the general education
curriculum in the regular classroom to the maximum extent possible. (20 U.S.C. §
1400(c)(5)(A)). The relationship between increased participation in a general education


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setting and academic growth for SWDs has been established in the national literature
(Barrocas and Cramer 2014 1; Cramer 2015 2; Hoppey and Mickelsen 2017 3).

Consistent with these requirements and objectives, CDE’s monitoring is designed to
address fundamental, systemic concerns within LEAs and to support their improvement
in meeting the program requirements under IDEA Part B, primarily emphasizing those
requirements most closely aligned with improving educational results and functional
outcomes for SWD. (See 34 C.F.R. § 300.600(b)). Better functioning LEAs means that
the SWD served by those LEAs will receive greater access to general education and
supports.

CDE believes improved student outcomes are based on four major pillars:

    1) Identifying the right placement for the student that will ensure that they are able
       to access general education curriculum and instruction to the greatest extent
       possible;
    2) Providing the right supports to allow each student to fully engage in learning;
    3) Maintaining classrooms with high quality instruction to ensure that all students
       fully benefit; and,
    4) Ensuring equity and that the education offered is free of racial and ethnic bias so
       all students are provided every opportunity to succeed.

If CDE focuses its monitoring efforts on these fundamental pillars, it expects that there
will be a measurable reduction in negative behaviors that result in SWD removals from
the educational environment and that SWD learning will be evidenced in higher
outcomes on achievement assessments. Further, CDE expects that SWD will graduate
with a regular high school diploma and achieve independence through college and
career success. Therefore, CDE has designed a monitoring system that is focused on
addressing the systemic issues within LEAs that weaken these pillars and hinder SWDs
in achieving success. (See Figure 1).




1 Barrocas, Lisa, and Elizabeth D. Cramer. 2014. “Placement and Achievement of Urban Hispanic middle
schoolers with Specific Learning Disabilities.” Journal of Urban Learning, Teaching, and Research, 10: 3-
13.
2 Cramer, Elizabeth. 2015. “Shifting Least Restrictive Environments in a Large Urban School

District.” Journal of Urban Learning, Teaching, and Research, 11: 40-49.
33 Hoppey, David, and Ann M. Mickelson. 2017. “Partnership and Coteaching: Preparing Preservice

Teachers to Improve Outcomes for Students with Disabilities.” Action in Teacher Education, 39(2): 187-
202.

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                                                 Figure 1




Special Education Monitoring and Alignment with
Statewide Accountability System
As explained in previous submissions, the State has an integrated student
accountability system based on federal and state legislation. The federal Every Student
Succeeds Act (“ESSA”) required all states to have a new multiple measures
accountability system in effect by the 2017-2018 school year. 4 Similarly, California’s
Local Control Funding Formula (“LCFF”) legislation made a shift from a complex school
finance system to one focused on equity, transparency, and performance. Under the
LCFF, LEAs receive funding based on the demographic profile of the students they
serve and are expected to meet enhanced accountability requirements and improve
student performance. A core component of LCFF is the Local Control and Accountability
Plan (“LCAP”). The State requires each LEA to submit an LCAP which serves as a tool
for LEAs to set goals, plan actions, and use existing resources to meet those goals to
improve student outcomes. 5

Rather than developing separate state and federal accountability systems, the State has
developed an integrated local, state, and federal accountability and continuous
improvement system founded on the LCFF priority areas that also aligns with ESSA
requirements, known as the California School Dashboard (“Dashboard”). The
Dashboard is an online tool that shows how LEAs and schools are performing on state

4   See, e.g., 20 U.S.C. § 6301 et seq.
5   See CDE’s LCAP website, available at: https://www.cde.ca.gov/re/lc/.


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and local indicators. All LEAs receive accountability results within the Dashboard. CDE
uses LEAs’ performance on the Dashboard for those performance areas overlapping
with related SPP targets. 6

Additionally, the State’s required LCAPs from each LEA as well as the State’s required
improvement plan from each LEA under the Compliance and Improvement Monitoring
(“CIM”) process (as described further herein) align to support the LEA in continued
improvement. Specifically, the State’s CIM process requires an LEA to submit an
improvement plan similar to the LCAP but with one key distinction: the CIM
improvement plan is the mechanism CDE uses to monitor and provide support to LEAs
that is designed to improve the outcomes for SWD and meet the federal monitoring
requirements under IDEA Part B. The State’s CIM process is designed to monitor and
support LEAs through a set of monitoring activities, specifically aimed at discovering the
root causes of poor performance for SWD within the selected LEAs so that those root
causes can be addressed.

Monitoring LEAs in the Tiered System for SWD
CDE’s SWD monitoring framework uses a tiered system that differentiates the level of
monitoring and technical assistance supports for each LEA based on data analyses and
that LEA’s need. CDE’s approach is consistent with OSEP’s Differentiated Monitoring
and Support (“DMS”) system for providing monitoring and supports to States as part of
its Results Driven Accountability (“RDA”) system. 7 OSEP’s RDA system shifted its
approach from monitoring States based solely on their compliance with IDEA Part B
requirements, to providing monitoring and support focused on both compliance and
improving results for SWDs. Given the number and diversity among the states, OSEP
differentiates its approach for each state based on the state's specific needs. 8 In
California, CDE determined that a monitoring framework also based on a differentiated
model would be the most effective given the sheer number and variation of LEAs that
the State monitors.

CDE’s tiered monitoring model includes three tiers: universal monitoring, targeted
monitoring, and intensive monitoring. CDE’s selection processes, as described in Phase

6 CDE uses an LEA’s performance on the Dashboard for Graduation Rate, Statewide Assessment
Proficiency and Suspension Rate as the method to identify LEAs for further monitoring. CDE previously
discussed this in its December 7, 2018 Phase 2 Compliance Report (Dkt. 2455-1 p. 6) and its January 31,
2020 Further Phase 2 Compliance Report (Dkt. 2545 p. 8).
7 See the U.S. Department of Education’s Office of Special Education and Rehabilitative Services Results

Driven Accountability website, available at:
https://www2.ed.gov/about/offices/list/osers/osep/rda/index.html.
8 See OSEP's DMS System Overview, available at

https://osep.grads360.org/#communities/pdc/documents/14982.



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2, are designed to ensure that LEAs are identified for the appropriate monitoring tier. 9
LEAs that remain in universal monitoring have access to resources from the State to
support their continued compliance and performance. Within the targeted and intensive
monitoring tiers, CDE further differentiates the level of engagement and activities that
LEAs participate in so as to best support LEAs to implement improvement activities that
support improved outcomes for SWD. In other words, the higher the LEA’s need, the
greater level of CDE’s engagement. Figure 2 displays the level of engagement that
CDE allocates to LEAs based on its monitoring tier.

                                                  Figure 2




Targeted and intensive monitoring for LEAs begins each year upon the publication of
the annual determination letter to each LEA. CDE sends each LEA a letter that notifies
the LEA of: (1) its annual determination of whether the LEA has met IDEA Part B
requirements, the data used to make that determination, and any required actions or
sanctions required under 34 C.F.R. §§ 300.600(a) and 300.603; (2) its monitoring tier
for the upcoming monitoring year; and, if applicable, (3) if it has been identified as
significantly disproportionate 10 and the resulting required actions. Once an LEA is
identified for the appropriate monitoring tier, CDE begins its engagement with the LEA,
and directs the LEA to begin the CIM process.

The core of CDE’s monitoring framework is the CIM process, described in greater detail
below. LEAs in targeted or intensive monitoring for performance are required to

9The State provided a full description of the monitoring model in Dkt. 2545 pp. 2-10.
10LEAs are identified as significantly disproportionate when data demonstrates an overrepresentation in
one or more of the four areas of disproportionality (disability, race/ethnicity and disability, discipline and
placement) in the same area and within the same population for three consecutive years.

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participate in and complete the CIM process as part of their ongoing, annual monitoring
activity. The CIM process is a series of steps and activities by which CDE identifies and
assists LEAs to identify areas for correction and improvement, and developing an
integrated plan to address those areas. CDE designed this process to ensure that
LEAs, with differentiated levels of involvement and review, examine a wide-range of
both compliance and performance data and identify the root causes of areas of concern
to develop and implement an effective improvement plan. LEAs identified for each level
of both targeted 11 and intensive monitoring tiers are required to participate in the CIM
process. The CIM is a multi-year process that recognizes that meaningful improvement
likely does not occur in a short period of time. Therefore, it requires an LEA’s sustained
focus on the areas in need of improvement to support positive outcomes for SWDs.

With respect to small LEAs––those serving 100 or fewer SWD––CDE intends to monitor
those LEAs cyclically. Under cyclical monitoring, each small LEA will be selected for
monitoring once every three years. Small LEAs may also be identified for higher levels
of monitoring such as targeted or intensive, as reflected in their annual determination.
All small LEAs will continue to be monitored annually for timeline and complaint
noncompliance, regardless of whether they have been selected for cyclical monitoring in
a given year. The small LEA cyclical monitoring design is described further herein.

Universal Monitoring and Support
CDE provides universal monitoring and support to each LEA in the State annually,
regardless of the LEA’s performance. Universal monitoring includes collection and
analysis of both compliance and performance data, review of fiscal information including
Maintenance of Effort, 12 and review of the local Special Education Local Plan Area
(“SELPA”) assurances. 13

For those LEAs that have no procedural noncompliance, are not disproportionate, have
met all performance targets, have no corrective actions to perform, and for whom CDE
did not identify areas of concern in nonpublic schools (“NPS”) reviews, CDE does not
require them to participate in the targeted or intensive monitoring CIM processes. 14 Nor
do those LEAs receive direct technical assistance from CDE or CDE-funded technical


11 LEAs identified for targeted, compliance-only monitoring are not required to participate in the CIM
process.
12 The Maintenance of Effort requirement mandates that LEAs spend at least the same amount of state

and local funds to provide services to SWD spent in the previous fiscal year. (34 C.F.R. § 300.203.)
13 CDE requires several components for SELPA Local Plans, including annual budget plans. More

information, including CDE-adopted templates, are available at
https://www.cde.ca.gov/sp/se/ds/lclpln.asp.
14 Some LEAs may choose to participate in the CIM process, as CDE does not prohibit LEAs from

voluntarily and independently participating in the CIM process.



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assistance (“TA”) providers. However, CDE makes available resources and tools for
those LEAs to address improvement voluntarily.

LEAs that are not identified for targeted or intensive monitoring are determined to “Meet
Requirements” in their Part B Annual Determination. While LEAs in this tier will have the
same access to CDE’s training and supports to complete self-guided activities as those
LEAs identified for targeted monitoring, CDE will not require the “Meets Requirements”
LEAs to participate in those self-guided activities, nor will CDE monitor those LEAs’
participation in those activities unless the LEA is found not to meet requirements in a
subsequent year.

Attachment 1 displays the criteria CDE will use to assess and sort LEAs into the
appropriate monitoring tier and differentiated monitoring level, and the LEA’s resulting
Annual Determination under IDEA Part B.

Targeted Monitoring and Support
CDE provides targeted monitoring and support to LEAs whose data indicate areas of
concern related to performance, compliance, and/or disproportionality that may impact
SWD performance. For LEAs that CDE identifies for targeted monitoring, their data
does not indicate ongoing, systemic noncompliance or a need for intensive support. The
data for LEAs in this tier indicates that the LEA can engage in correction and
improvement with less CDE support and oversight than those LEAs identified for
intensive monitoring. CDE requires that LEAs with concerns related to performance and
identified for targeted monitoring must participate in the CIM process and complete
various activities within that process. The areas of focus for CDE’s monitoring of these
LEAs are based on the areas of concern that identified the LEA for targeted monitoring.

LEAs selected for targeted monitoring are required to complete the activities in the CIM
process with CDE and TA provider guidance and support, and CDE monitors the LEA’s
implementation of the CIM plan. CDE differentiates the level of intervention and the
LEA’s required activities depending on the areas of concern within that LEA. CDE
monitors every LEA that is identified for targeted monitoring to determine if the LEA
corrects noncompliance and improves outcomes.

Differentiation in Targeted Monitoring
LEAs are identified for compliance-only or differentiated targeted monitoring when
facing barriers with procedural compliance or improving special education outcomes.
LEAs identified for compliance-only targeted monitoring are those whose data show that
SWD are meeting performance targets for improved outcomes, but have not
demonstrated compliance with IDEA requirements. LEAs identified for targeted
monitoring for issues other than compliance are provided a differentiated level of
monitoring in one of three levels.

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Compliance-only Targeted Monitoring and Support

CDE identifies LEAs for compliance-only targeted monitoring in a number of ways.
Primarily, CDE identifies LEAs for compliance-only targeted monitoring based on data
analysis with respect to timelines in six areas. 15 Secondarily, CDE may identify LEAs for
compliance-only targeted monitoring if they had noncompliance identified in a special
education compliance complaint investigation report, an Office of Administrative
Hearings special education due process hearing decision, data, fiscal or Nonpublic
School (NPS) areas of concerns, or any other review of LEA data and student files.
CDE only requires correction of noncompliance from these LEAs so that CDE can
allocate resources and apply graduated engagement to those LEAs with both
performance and compliance concerns. For those LEAs identified for compliance-only
targeted monitoring, CDE continues to monitor compliance and makes available
resources to allow these LEAs to proactively address any individually identified
performance concerns.

CDE requires that any LEA identified for compliance-only targeted monitoring must
satisfy the corresponding corrective action and provide data demonstrating correction of
the noncompliance, including subsequent data demonstrating 100 percent compliance.
These LEAs are required to take these actions as soon as possible, but in any event, in
not longer than one year after CDE’s identification of the noncompliance, consistent with
federal law. (34 C.F.R. § 300.600(e)). Once the LEA has satisfied the corrective action,
CDE verifies that the LEA corrected any noncompliance per guidance from OSEP
Memo 09-02. 16

LEAs identified for this type of monitoring are not required to participate in the CIM
process nor complete and submit an improvement plan.

Level 1 Targeted Monitoring and Support

CDE identifies LEAs for level 1 targeted monitoring where those LEAs: (1) do not meet
one or two performance targets, and/or (2) are not making progress in addressing the
systemic causes of low performance or have not corrected noncompliance. CDE directs
LEAs identified for level 1 targeted monitoring to conduct most of the required activities
independently, or with the assistance of the LEA’s SELPA, as needed. Using templates
providing by CDE, the LEA is required to conduct an independent data-drill-down and
review of the procedural compliance elements associated with the targets or areas in
need of review. If the LEA’s data shows noncompliance, or the LEA identifies potential
noncompliance through the CIM activities, CDE will assign corrective actions and
require the LEA to submit evidence of correction and ongoing compliance to CDE within

15 See January 31, 2020 State Defendants’ Further Phase 2 Compliance Report, Dkt. 2545, p. 6.
16 See the OSEP site, MEMO: OSEP Memo 09-02 to Chief State School Officers Reporting on Correction
of Noncompliance (October 17, 2008) available at: https://sites.ed.gov/idea/idea-files/osep-memo-09-02-
reporting-on-correction-of-noncompliance/.

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one year. CDE verifies that the LEA corrected any noncompliance per guidance from
OSEP Memo 09-02.

The SELPA will support the LEA’s progress through CIM activities and the development
of the LEA’s improvement plan. CDE will provide support to the LEA upon the LEA’s
request. CDE will further monitor the LEA’s implementation of its improvement plan
through existing data analysis processes of annual data collection.

Level 2 Targeted Monitoring and Support

CDE identifies LEAs for level 2 targeted monitoring where those LEAs: (1) do not meet
three or more performance targets, and/or (2) are in year one of Disproportionality. CDE
directs LEAs identified for level 2 targeted monitoring to conduct some of the required
activities independently, or with the assistance of CDE-funded TA providers, as needed.
Using templates providing by CDE, the LEA is required to conduct an independent data-
drill-down and review of the procedural compliance elements associated with the targets
or areas in need of review. CDE will assign corrective actions and require the LEA to
submit evidence of correction and ongoing compliance to CDE within one year. CDE
verifies that the LEA corrected any noncompliance per guidance from OSEP Memo 09-
02.

Under CDE’s design of this monitoring tier, CDE will require the LEA’s SELPA or COE
to support the LEA’s progress of the CIM process and completion of required activities
with support from TA providers, as needed, and approve the LEA’s improvement plan.
Similar to LEAs identified for level 1 targeted monitoring and support, CDE will further
monitor the LEA’s implementation of its improvement plan through existing annual data
collection and analysis processes.

Level 3 Targeted Monitoring and Support

CDE identifies LEAs for level 3 targeted monitoring where those LEAs: (1) are
performing in the bottom 11-20 percent of LEAs in those performance indicators most
closely associated with the provision of a free, appropriate public education (FAPE) in
the least restrictive environment (LRE) and data do not demonstrate improvement, such
that the LEA is at risk for moving into the intensive monitoring tier; and/or 2) are
identified as Disproportionate for the second consecutive year and data do not
demonstrate improvement, such that the LEA is at risk of being identified as
Significantly Disproportionate in the following year.

LEAs identified for level 3 targeted monitoring and support will conduct some of the
required activities independently, but CDE requires these LEAs to complete other
activities with the assistance and guidance of a TA provider assigned by CDE. Similar to
other targeted monitoring levels, the LEA will conduct an independent review of the
procedural compliance elements associated with the targets or areas in need of review.
CDE will assign corrective actions and require the LEA to submit evidence of correction

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and ongoing compliance to CDE within one year. CDE verifies that the LEA corrected
any noncompliance per guidance from OSEP Memo 09-02.

Under CDE’s design of this monitoring tier, both CDE and the LEA’s SELPA or COE will
review, approve and support the LEA’s implementation of the improvement plan. CDE
will further monitor the implementation of activities and the LEA’s progress based on
timelines and milestones that the LEA identified in its improvement plan. CDE will also
require the LEA’s SELPA or COE to work closely with the LEA to ensure that the LEA
meets those implementation timeline milestones.

Intensive Monitoring and Support
CDE provides intensive monitoring and support to those LEAs whose data on outcomes
for SWD indicate systemic issues. CDE will require that these LEAs participate in the
CIM process, and CDE will require these LEAs to complete required activities, with
close oversight and direction from CDE. Similar to targeted monitoring, CDE’s design of
intensive monitoring is differentiated, so that the types of activities CDE will require and
level of intervention CDE will provide is based on the LEA’s need. CDE will further
monitor every LEA identified for intensive monitoring to determine if the LEA improves
outcomes and provides support, including through CDE’s TA providers and the
statewide system of support.

Differentiation in Intensive Monitoring
Similar to targeted monitoring, CDE provides further monitoring and supports to LEAs
identified for intensive monitoring in three levels.

Level 1 Intensive Monitoring and Support

CDE identifies LEAs for level 1 intensive monitoring and support where those LEAs: (1)
are in the bottom 8-10 percent of LEAs in the intensive selection criteria, 17 based on the
examination of both school-age and preschool data; (2) have outstanding corrective
actions assigned more than one year prior; and/or (3) are in year one of Significant
Disproportionality.

CDE will require that those LEAs identified for level 1 intensive monitoring and support
conduct (1) some of the CIM process independently, (2) some with the assistance and
guidance of a TA provider, and (2) some under CDE’s close supervision. For intensive

17 CDE uses the following selection criteria for school-age intensive monitoring: English proficiency, math

proficiency, suspension rate, chronic absenteeism rate, rate of students in regular classes 80% or more of
the day, and rate of students inside the regular class less than 40% of the day. CDE uses the following
selection criteria for preschool intensive monitoring: average rate of child outcomes (based on
assessments of social skills, knowledge, etc.), rates of suspension and expulsion, rate of students in
regular classes most of the time, and rate of students in separate schools or placements most of the time.

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monitoring, CDE, not the LEA, conducts a review of the procedural compliance
elements associated with FAPE in the LRE or Significant Disproportionality. Upon
completion of the review, CDE notifies the LEA of any noncompliance and assigns
corrective actions. The LEA must provide evidence of satisfactory correction of the
noncompliance, including data demonstrating ongoing compliance to CDE as soon as
possible, but in any event, in not more than one year. CDE verifies correction of the
noncompliance in accordance with OSEP Memo 09-02.

Under CDE’s design of this monitoring tier, CDE reviews, approves and further monitors
implementation of the LEA’s improvement plan. CDE will further monitor the
implementation timeline milestones that the LEA identified in its improvement plan, and
will work closely with the LEA to ensure that the LEA meets those implementation
timeline and milestones.

Level 2 Intensive Monitoring and Support

CDE identifies LEAs for level 2 intensive monitoring and supports where those LEAs:
(1) are in the bottom 4-7.99 percent of LEAs in the intensive selection criteria based on
the examination of both school-age and preschool data, and/or (2) in year two of
Significant Disproportionality.

Under CDE’s design of this monitoring tier, LEAs identified for level 2 intensive
monitoring and support do not conduct any of the activities in the CIM process
independently. CDE requires that these LEAs complete some activities with the
assistance and guidance of a TA provider provided by CDE, and must complete most
activities under CDE’s close supervision. CDE, not the LEA, conducts a review of the
procedural compliance elements associated with FAPE in the LRE or Significant
Disproportionality. Upon completion of the review, CDE notifies the LEA of any
noncompliance and assigns corrective actions. The LEA must provide evidence of
satisfactory correction of the noncompliance, including data demonstrating ongoing
compliance to CDE as soon as possible, but in any event, in not more than one year.
CDE verifies correction of the noncompliance in accordance with OSEP Memo 09-02.

Under CDE’s design of this monitoring tier, CDE will review, approve, and further
monitor the LEA’s implementation of the improvement plan. CDE will further monitor the
implementation timeline milestones that the LEA identified in its improvement plan, and
will work closely with the LEA to ensure that the LEA meets those implementation
timeline and milestones.

Level 3 Intensive Monitoring and Support

CDE identifies LEAs for level 3 intensive monitoring where those LEAs: (1) are in the
bottom 0-3.99 percent of LEAs in the intensive selection criteria, based on examination
of both school-age and preschool data; (2) have outstanding corrective actions


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assigned more than two years prior; and/or, (3) have been Significant Disproportionate
for three or more years.

Under CDE’s design of this monitoring tier, CDE will require LEAs identified for level 3
monitoring and support to complete all activities in the CIM process under and
alongside CDE’s direct supervision. These LEAs will not conduct any of the activities in
the CIM process independently or with the assistance and guidance of a TA provider;
however, CDE will assign relevant TA providers to participate in the monitoring and
support as needed. Under CDE’s design of this monitoring tier, CDE will review,
approve, and further monitor the LEA’s implementation of the improvement plan. CDE
will further monitor the implementation timeline milestones that the LEA identified in its
improvement plan, and will work closely with the LEA to ensure that the LEA meets
those implementation timeline and milestones.

CDE will conduct a review of the procedural compliance elements associated with
FAPE in the LRE or Significant Disproportionality. Upon completion of the review, CDE
notifies the LEA of any noncompliance and assigns corrective actions. The LEA must
provide evidence of satisfactory correction of the noncompliance, including data
demonstrating ongoing compliance to CDE as soon as possible, but in any event, in not
more than one year. CDE verifies correction of the noncompliance in accordance with
OSEP Memo 09-02.

Monitoring Activities
Attachment 2 displays the monitoring tier, differentiated monitoring levels and required
CIM process steps and activities.

Universal Monitoring Activities
Timely and Complete Data
As described in Phase 2, CDE requires LEAs to submit timely and complete data to
CDE to meet both state monitoring and federal reporting requirements. CDE deems
those LEAs that fail to submit timely data as noncompliant with 34 C.F.R. § 300.601(b),
and CDE requires those LEAs to determine the cause of the noncompliance and
perform data system improvements that will ensure compliance. CDE further monitors
and verifies correction of noncompliance related to timely and complete data through
subsequent data collections. CDE makes available technical assistance for LEAs as
needed from CDE and from state-funded TA providers.




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Targeted Compliance-Only Monitoring Activities
Identification and Correction of Noncompliance
As part of CDE’s general supervision responsibilities, CDE completes a number of
activities to review LEAs’ compliance in certain areas. These compliance activities may
result in CDE identifying LEAs as noncompliant in one or more areas, at which time,
CDE will notify the LEA of the noncompliance, and assign the LEA associated corrective
actions.

CDE’s compliance monitoring activities occur in all levels of CDE’s monitoring, and are
part of other types of monitoring represented within the CIM process. CDE requires that
those LEAs that required to complete the CIM process to complete compliance review
activities, and CDE verifies the correction of any noncompliance as explained
previously.

CDE reviews compliance in all LEAs both annually and during the course of other parts
of the general supervision. While CDE does not require some LEAs to participate in the
CIM process under CDE’s differentiated monitoring system, CDE requires those LEAs
to correct any identified noncompliance, complete mandated follow-up activities, and
submit data to CDE demonstrating correction of the noncompliance. CDE reviews each
item of noncompliance, and verifies correction of the noncompliance in accordance with
OSEP Memo 09-02. CDE verifies that the LEA has successfully corrected any individual
instances of noncompliance by reviewing data or records, such as data from
subsequent on-site monitoring or data collected through the State’s data collection
systems.

Timeline Noncompliance

CDE annually reviews and analyzes LEAs’ data submitted to CDE to determine if they
have met required timelines set forth in federal and state statutes. CDE’s review of
LEA’s compliance in these areas include:

   •   SPP Indicator 11: One hundred percent of children were evaluated within 60
       days of receiving parental consent for initial evaluation.
   •   SPP Indicator 12: One hundred percent of children referred by Part C prior to age
       three, who are found eligible for Part B, have an IEP developed and implemented
       by their third birthday.
   •   SPP Indicator 13: One hundred percent of youth aged 16 and above have an IEP
       that includes the eight required elements of transition.
   •   Whether the LEA held an IEP meeting at least once per year.
   •   Whether the LEA conducted a “triennial” re-evaluation to determine the student’s
       continued eligibility for special education every three years.


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   •   Whether the LEA held an informal resolution session with the parent within fifteen
       days of the parent’s filing a request for a special education due process hearing
       with the Office of Administrative Hearings.

When CDE identifies an LEA’s noncompliance in one of the aforementioned areas, it
notifies the LEA of all individual instances of noncompliance, including, for example, the
student record or case in which the noncompliance was identified, and sets forth the
appropriate corrective action. There are instances in which CDE will require the LEA to
correct the student-level noncompliance (late IEPs, late initial evaluations that are still
not held by the data collection period, and incomplete transition plans). There are other
instances where CDE will require the LEA to make system-level changes to ensure that
there are not future instances of noncompliance. For any finding of noncompliance,
CDE requires the LEA to demonstrate ongoing compliance with the requirements
through submission of data to CDE showing compliance.

Complaint Corrective Actions

In exercising its monitoring and enforcement responsibilities pertaining to complaints
and due process decisions, CDE ensures that when it identifies an LEA’s
noncompliance, it requires LEAs to complete corrective actions as soon as possible,
and in no case later than one year after the State identifies noncompliance. (See 34
C.F.R. § 300.600). CDE identifies deadlines for an LEA’s compliance in investigation
reports or due process notification letters with the expectation that the LEA will resolve
each corrective action within the required timeline identified in the investigation report or
due process notification. CDE further monitors an LEA’s progress on these corrective
actions and communicates with the LEA until CDE has determined that all corrective
actions are completed, by either verifying that the LEA corrected individual instances of
noncompliance, and that the LEA has submitted data demonstrating compliance.


CIM Process Monitoring Activities
CDE has designed the CIM process to help LEAs (1) identify systemic issues in the LEA
that lead to poor student outcomes, (2) create a plan that prioritizes those activities that
will have the greatest impact on improving outcomes for SWD, and (3) implement that
plan with fidelity. The CIM process includes a Policies, Practices and Procedures review
to assess an LEA’s procedural compliance, as well as targeted activities such as a
review of data, solicitation of parent input, initiative inventories, plan development, plan
approval, and further monitoring of the implementation timeline.

The CIM process is a four-step process to leads the LEA to develop a cohesive and
comprehensive plan. CDE will provide templates and guidance to LEAs for activities in
each step.



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   •   Step 1: Gather and Inquire. The LEA gathers, reviews and synthesizes data and
       information to determine the current issues that exist in the LEA.
   •   Step 2: Investigation. The LEA examines the issues identified in order to
       determine the causes of the issues, prioritize, and develop a theory of action to
       address the root cause.
   •   The Step 3: Planning. The LEA identifies those activities that will have the
       greatest impact on improving outcomes for SWD and develops a detailed plan for
       implementation using parts of other improvement plans, including the LCAP,
       developed by the LEA.
   •   Step 4: Implementation. LEAs, TA Providers and CDE monitor the
       implementation of the plan over time to determine if the LEA is meeting its plan’s
       timelines or milestones and to ensure the LEA is provided with the appropriate
       support. If the LEA is not meeting timelines or milestones, CDE will provide the
       LEA further support to get back on track. CDE will also determine whether, at any
       time, the LEA needs to revise its plan and will provide appropriate feedback and
       support.

Requirements and CDE Engagement to Complete CIM Process Activities

All LEAs identified for targeted and intensive monitoring are required to complete the
CIM process; however, depending on the monitoring level of the LEA, they will be
required to complete different activities under the CIM process with different levels of
engagement from CDE, COEs, SELPAs and TA providers. CDE will annually notify
each LEA as to which activities of the process LEAs are required to complete, as well
as what level of engagement they can expect from CDE and TA providers.

In the first year, for those LEAs required to go through the CIM process, the LEA will
complete Steps 1 through 3 to develop an improvement plan. In subsequent years, the
LEA and CDE will work through Step 4, implementation of the improvement plan. Each
year, CDE and the LEA review annual data and local level data, where appropriate, to
determine whether the LEA is making progress on timelines and milestones. If the LEA
is not making progress, CDE may refer the LEA to a TA provider for support or require
the LEA to revisit the process and revise the plan. After three years, if the LEA is not
making progress evidenced in local data and outcome data, CDE will require the LEA to
restart the process and complete Steps 1 through 4.

CDE believes that employing this monitoring and support strategy provides clear and
transparent expectations to the LEA about improvement, but also allows flexibility. For
example, an LEA provided a lower level of support may warrant a higher level of
engagement from CDE if they do not improve, and CDE will require these LEAs revisit
certain steps of the CIM process. This strategy is also designed to provide those LEAs
at a higher monitoring level time to make systemic changes and demonstrate
improvement.


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Levels of Engagement

CDE’s CIM process is designed so that LEAs receive differentiated levels of
engagement from CDE depending on the level of identified monitoring for that LEA.

Optional

For those activities that CDE identifies as optional, CDE does not require the LEA to the
LEA to complete the activity. An LEA may choose to complete an optional activity if the
LEA believes it would support its improvement planning.

Required, Independent

CDE requires an LEA to complete certain activities independently. The LEA may
request the support of their SELPA, COE, or other TA providers. CDE will provide the
training and tools to complete the CIM activities but will only provide individualized
assistance to the LEA upon request.

Required, with Assistance

CDE requires an LEA to complete certain activities with the assistance of a TA provider.
CDE assigns LEAs a TA provider or directs LEAs to select a provider to assist with the
completion of the CIM process or a specific CIM activity. The TA provider may support
LEAs through webinars, trainings and one-on-one support depending on the LEAs’
needs.

Required, Directed by CDE

LEAs whose data indicate they are at the highest level of monitoring require the
greatest level of CDE engagement. CDE requires the LEAs to complete the CIM
process and activities under the direct supervision of CDE. LEAs receive trainings, tools
and assistance to complete the CIM process and are provided support through
convening small regional cohorts and one-on-one support from CDE and TA providers.
The LEA works closely with CDE in advancing through each step of the CIM process.

CIM Step 1 – Gather and Inquire
To develop an effective improvement plan, CDE will require the LEA to examine
qualitative and quantitative data to better understand the challenges and factors
contributing to the issues the LEA is experiencing. Under step 1 of the CIM process, the
LEA will identify and thoroughly analyze data from a variety of sources to better
understand systemic issues and how they are impacting specific subgroups of SWD
with respect to placement, participation in general education, and equity, consistent with
CDE special education theory of action. This step is designed to help the LEA answer
the following questions:

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   •   What is the issue we (the LEA) are trying to address?
   •   What does our existing data tell us about this issue, and why it might be
       happening?
   •   What additional data do we need to collect?

Step 1 culminates in the identification of the issue(s) most connected to an LEA’s poor
performance and areas of focus for further investigation and planning.

Creation of a Team

CDE will also require the LEA to identify a team of people committed to participating in
the CIM process who can provide a variety of perspectives. CDE believes that the
success of the process depends on the varied perspectives and roles of team members,
including decision-makers, leaders, specialists, and generalists. CDE suggests that
LEAs use the following participants to form a quality CIM Team:

   •   An administrator in a leadership role who is familiar with past and present
       improvement initiatives, the policies and procedures of the LEA, as well as the
       LEA’s LCAP, such as a superintendent or deputy superintendent.
   •   A special education administrator in a leadership role who is familiar with the
       legal requirements, LEA policies pertaining to special education, and district-wide
       challenges relating to special education, such as a special education director.
   •   A special education teacher who works directly with SWD and who uses the
       LEA’s policies, practices and procedures in their daily work.
   •   A general education teacher who serves a variety of learners and is a content
       expert for the teacher’s grade level.
   •   Optional participants may include a local site leader such as principal, an LEA
       school psychologist, or members of the Differentiated Assistance team.

CDE may require additional CIM team members as necessary.

Data Drill Down

Each LEA identified for targeted or intensive monitoring and supports is required to do
an analysis of its data to determine the issues that exist in the LEA and the areas that
will require further analysis. The LEA will use its current data to conduct the analysis.
The LEA will use data analysis tools and guides from CDE to disaggregate the data by
disability, location, age, and race/ethnicity. The LEA will also walk through a set of
guided questions that will help it arrive at conclusions based on the synthesis of this
data disaggregation.

For both independent and required engagement level, CDE will provide the LEA a set of
tools and instructions to complete the data analysis, and the LEA will be required to
provide CDE a description of the outcome of its analysis. At the required assistance
engagement level, CDE provides and expands access to the tools and instructions to

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the LEA, TA provider, and SELPA and/or COE, to support the LEA to complete the data
analysis. CDE expects that the TA provider will hold support sessions with the LEA, or a
cohort of LEAs, to help with the LEAs’ data analysis process. CDE requires the LEA to
submit a description of the analysis and the support from the TA provider. At the
appropriate engagement level, CDE works one-on-one or in cohorts with the LEA to
conduct the data analysis and synthesize the results to identify issues that require
further investigation via other required processes.

Assessment of Infrastructure

In 2020, CDE collaborated with stakeholders to help develop an LEA self-assessment to
examine the strength of their infrastructure. 18 The infrastructure self-assessment is
based on six key components needed to operate a well-functioning special education
program. 19 While this activity is optional for LEAs identified for targeted monitoring, CDE
will require LEAs identified for intensive monitoring to complete this activity. The results
of this assessment will support LEAs to determine the needs that require attention to
start system improvement efforts.

The Six Basic Components are:

   •   Collaboration and Communication. Norms and processes that allow for
       meaningful and productive interaction between special education programs and
       other programs, as well as between schools and families.
   •   Staffing. Processes to monitor and address personnel needs, and strategic
       allocation of staff with defined roles and responsibilities.
   •   Policy and Procedures. The existence of up-to-date, documented, and accessible
       procedures that are compliant with the IDEA, along with a robust pre-referral
       system, such as a multi-tiered system of support.
   •   Data Systems. Accurate and consistent data sources that are accessible and
       monitored at the student, classroom, and school levels.
   •   Resource Management. Budget planning and monitoring processes that ensure
       that resources for special education are strategically allocated and managed to
       meet state and federal guidelines and to serve SWD.
   •   Instructional Practices. Professional learning opportunities, systems, and
       processes for general and special education teachers and other personnel, to
       support high-quality IEPs and all students’ access to the general education
       curriculum.



18 See Serving Students With Disabilities: A Resource for Assessing the Basic Components of Your

Special Education Infrastructure at: https://www.wested.org/wp-content/uploads/2020/03/CCEE-SWD-
Basic-Levers-Tool.pdf. Associate Director Shiyloh Duncan-Becerril and former Special Education Director
Kristin Wright participated in preparing the publication.
19 Id.


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Policies, Practices and Procedures Review

Based on an LEA’s data, CDE requires LEAs in targeted monitoring to conduct a
differentiated level of Policies, Practices and Procedures review using templates
provided by CDE. CDE conducts the same review required for LEAs in the intensive
monitoring tier. This review will examine the LEA’s ability to adhere to the procedural
requirements in IDEA. This review will also provide important information to the LEA
about potential systemic issues in the LEA that prevent the LEA from ensuring that all
IEPs meet legal requirements. To support LEAs in this review, CDE created a set of
compliance items most closely aligned to policies, practices or procedures that support
improved student outcomes and FAPE in the LRE. CDE requires the LEA to use this set
of compliance items in its review of policies, practices, procedures, and the student file
review.

CDE also measures procedural compliance under the Compliance-only targeted review,
specific to procedural compliance around timelines in six key areas, as discussed
above. 20

CDE designed its compliance review activity to focus on the LEA’s procedural
compliance with the requirements of the IDEA that are most closely linked to improving
student outcomes and equity, specifically those items CDE believes are indicators of
potential barriers that are preventing the LEA from effectively improving the outcomes of
SWD. The compliance portion of this monitoring activity is designed within the context of
the State’s and LEA’s review of comprehensive quantitative data to provide one view
into the LEA’s practices.

CDE designed this required activity to have the LEA—individually or with the direct
support of a TA provider or CDE staff—identify and uncover policies, practices and
procedures that impede the LEA from improving student outcomes. LEAs use results of
the file review—in addition to correcting noncompliance within one year —during Step 2
of the CIM process. In conjunction with other Step 1 activities, the LEA determines the
root causes of procedural noncompliance in order to determine effective activities to
address the systemic issues related to improving outcomes for SWD.

CDE will require LEAs in targeted monitoring to complete an independent self-review of
their compliance as well as policies, practices, and procedures review. CDE will provide
training to LEAs on the process for conducting a review, and the LEA will be required
report the outcomes of the review to CDE. CDE will conduct a random verification of
reviewed files to ensure that the review was conducted consistently and accurately. For
LEAs in intensive monitoring, CDE staff will conduct the review by accessing the files
remotely and identifying noncompliance in the student files and in the LEA’s policies,
practices and procedures.


20   See Timeline Noncompliance, supra.

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For each finding of noncompliance within an LEA, CDE will provide a required corrective
action. CDE will further monitor each item of noncompliance and subsequent corrective
action for completion and verify correction, including by reviewing subsequent data
provided to CDE, per guidance from the OSEP Memo 09-02.

Educational Benefit Review

CDE will require that LEAs conduct an Educational Benefit Review to assess the
provision of FAPE in the LRE by sampling a subset of student records over three years.
The purpose of the Educational Benefit Review is to determine whether a student's
program has been reasonably planned to result in educational benefit. At the targeted
level, CDE will make the Educational Benefit Review optional for LEAs. For LEAs
identified for intensive monitoring, CDE will require the Educational Benefit Review. This
review can identify areas for improvement as well as areas for correction of
noncompliance related to the content of student IEPs.

To conduct the review, CDE will require the reviewer to examine the last three years of
information about the student’s program - the IEPs, assessments, triennial review, and
progress information. The review will chart how the program was planned for each year
- assessed needs, present levels of performance, goals, services, and progress.
Subsequently, the review will analyze whether the assessment was comprehensive.
The review will examine the relationship between the needs identified and the goals,
and whether sufficient supportive services are identified in the IEP to assist the student
to reach the goals. The final part of the review will compare the student’s program in
year one to the program in years two and three to determine how the team adjusted the
student’s program in relation to changes in the student’s performance and progress.

At the independent level of engagement, the Educational Benefit Review training is self-
paced and accessible online. The LEA completes the Educational Benefit Review with
their special education staff using the tools made available by CDE. At this level, an
Educational Benefit Review provides the LEA an opportunity for self-reflection and
growth. Although CDE does not verify or review IEPs at this level, CDE requires the
LEA to submit assurances to CDE that it completed the trainings and the review, and to
discuss the results of the review in its summary of CIM process Step 1. CDE and TA
provider staff will be available to answer questions and provide the LEA support upon
request.

At the assisted level of engagement, CDE will require the LEA to participate in a live
training. CDE will require LEA staff to conduct a review of a stratified sample of student
files, and report the results to CDE on a Summary of Concerns worksheet. If the LEA
reports noncompliance, CDE verifies the noncompliance, and issues a finding of
noncompliance with required corrective actions. CDE monitors the completion of
corrective actions and the subsequent reviews to ensure systemic correction in
accordance with OSEP Memo 09-02. The results of the review must be included in the
description of process and outcomes in CIM process Step 1.

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At the directed level of engagement, CDE will require the LEA to participate in the
review with a CDE staff member as the lead reviewer with ten student files. CDE will
require that the review files start with either an initial or triennial assessment, and the
LEA is required to complete the Summary of Concerns worksheet with CDE staff
oversight. CDE will issue findings of noncompliance with corrective actions, and verify
the LEA’s correction of the noncompliance through subsequent reviews that ensure
systemic correction in accordance with OSEP Memo 09-02. CDE will require the LEA to
include the results of the review in the description of process and outcomes in CIM
process Step 1.

Parent Input

CDE will require LEAs in both targeted and intensive monitoring to solicit parent input to
gain a greater understanding of the parent perspective on issues that might exist in an
LEA. CDE developed and published a parent survey that allows parents to provide input
on several elements. 21

CDE’s requirements for the LEA’s completion of the survey and CDE’s engagement
with the LEA will vary depending on the LEA’s monitoring level. LEAs who are not
required to conduct a parent input survey will have the option to do so, and CDE will
make available the necessary tools to conduct the survey at their discretion.

For those LEAs that are required to collect parent input independent from CDE
oversight, CDE will require those LEAs to participate in a webinar training on how to
complete this activity. In addition to the survey, those LEAs may also use other means
of collecting parent input, including the means the LEA uses to gather input from
parents on improvement planning. CDE will provide these LEAs with access to a
reflective activity so that the LEA can provide its conclusions in the summary of CIM
process Step 1.

For those LEAs at the assisted level of engagement, CDE will require the LEA to work
with a TA provider to conduct the training and conduct the analysis of the parent input
that will be included in CIM process Step 1.

For those LEAs at the directed level of engagement, with CDE’s oversight and training,
CDE will require those LEAs send a link to the survey to every parent of a SWD. CDE
will conduct analysis meetings to assist the LEA in drawing the conclusions from the
parent survey data that the LEA must include in its summary of CIM process Step 1.




21 See the Parent Survey, accessible at Seeds of Partnership site at
https://www.seedsofpartnership.org/monitoringsurvey/

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CIM Step 2 – Investigation
The focus of the next step in the CIM process is investigatory. After the LEA has
identified the issues that exist, the LEA can further examine the causes of the issues.
CDE designed this step to help the LEA to answer the following questions:

   •   Why is the issue happening (root cause)?
   •   Which 1-3 root causes should we focus on, and why?

Root Cause Analysis

The first activity in CIM process Step 2 is the Root Cause Analysis (“RCA”). CDE
designed the RCA to give the LEA insight into the main cause(s) of the issues that the
LEA identified in CIM process Step 1, and to help the LEA identify where to allocate its
resources to implement a single activity that will have the greatest impact on improving
outcomes for SWD.

Root causes are typically few in number, often three or less. Additional root causes
would likely indicate that deeper analysis is required. Root causes are also not a person
or group of people. They often point to a process, a set of assumptions or beliefs behind
a process, or a break in the system that might need some level of support. A root cause
should reveal where to focus the LEA’s attention, not where to assign blame.
Addressing this process with a growth mindset is essential to finding real solutions.
Points of resistance may reveal additional information and a place for needed support.

Step 2 begins with the RCA. The RCA uses the observations from the CIM Step 1 to
help the LEA develop an activity that aims to provide insight into why the issue is
happening. CDE will require an LEA to complete the RCA activity before the Initiative
Inventory activity (discussed below) to help the LEA consider the true root cause of an
issue, and to discourage an LEA from inadvertently assigning a current LEA initiative as
the root cause of the issue.

CDE believes that a true data-based, vetted root cause will be the beginning of the
LEA’s positive change needed to truly improve outcomes for SWD. There are many
exercises that can help a team analyze an issue in greater detail, for example, “5
Whys,” a fishbone diagram, or any other tool that will help the team look behind the
obvious. Sometimes an LEA needs a change in perspective and additional information
to get the full picture of what is behind a symptom or initial cause.

For those LEAs that are required to conduct the RCA independently, CDE will provide
those LEAs the necessary tools and invite them to participate in a webinar training to
conduct the RCA. Once the RCA is completed, CDE will require the LEA to describe its
resulting analysis in its summary of CIM process Step 2.



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For those LEAs at the assisted level of engagement, CDE will require the LEA to work
with a TA provider to conduct the RCA and the TA provider will assist the LEA in the
analysis that the LEA will include in its summary for CIM process Step 2.

For those LEAs at the directed level of engagement, CDE will require the LEA to
conduct the RCA with CDE’s oversight and training. CDE will conduct meetings that will
assist the LEA in the RCA analysis, and that the LEA will include in its summary of CIM
process Step 2.

Prioritization

Upon the completion of the RCA activity, CDE believes that it is important for LEAs to
examine all of the potential root causes of their current issues and concerns revealed
during RCA. CDE will require the LEA to review all of the root causes and determines
the priority in which they should be addressed. The purpose of this activity is to help the
LEA focus efforts on improvement activities that can be scaled up and widely
implemented in the LEA with fidelity. In this activity, CDE will also require the LEA to
consider the overlap of needs and RCAs within the LEA across both general and
special education.

Initiative Inventory

Once the LEA completes both the RCA and the prioritization activities, CDE will require
the LEA to review all its current initiatives, including those existing in special education
and the general education, and to determine which activities address identified root
causes and align to the highest priority need.

Often LEAs will engage in several “improvement initiatives” simultaneously without
considering the resources needed to implement them fully and completely. When this
occurs, an LEA’s staff are unable to adequately identify which initiative has impact, and
cannot devote energy or resources appropriately. As a result, an LEA is not able to
improve outcomes because an LEA fails to fully and completely implement any initiative.
As part of this activity, CDE may require the LEA to conduct a “KEEP, STOP, START”
inventory to determine what current initiatives should be kept, started, or stopped,
based on what is revealed through the data and root cause analysis.

Another reason CDE designed this activity is to determine what initiatives are already in
place in an LEA, and what initiatives have already been implemented. There might be
existing initiatives that align well with the priority root causes and that the LEA could
expand or scale up to address poor performance. Alternatively, there might be initiatives
that the LEA is implementing that are not aligned with their priority root cause, and that
the LEA should consider pausing or delaying. This activity is designed to support
appropriate resource allocation so that the LEA may focus on the highest priority activity
aimed at improving outcomes by reducing or eliminating the root cause of the issue.


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During this initiative inventory, CDE will require those LEAs required to complete this
activity to have focus groups or parent input sessions to decide what is and is not
working in the current LEA initiatives. The outcomes of parent input should also be
considered in the “KEEP, STOP, START” inventory.

Theory of Action/Improvement Framework

The final activity of CIM process Step 2 is the Theory of Action (“TOA”). Creating a TOA
will help LEAs narrow in on core beliefs, generate a rationale behind selecting certain
activities that will have greater impacts on improving outcomes for SWD over others,
and clearly articulate their journey toward creating sustainable improvement over time.

CDE expects the LEA to clearly state a logical chain of reasoning to describe how the
change the LEA will employ will lead to improved practices and how, in turn those
practices, if sustained, will lead to improved outcomes for SWD.

CIM Step 3 – Planning
Improvement Plan

Upon the completion of Steps 1 and 2 of the CIM process, CDE will require the LEA to
develop an improvement plan regarding the activity that will have the greatest impact on
improving outcomes that the LEA intends to deploy. CDE will require the LEA’s plan to
include timelines and milestones that CDE will use to further monitor the LEAs and
guide CDE’s ongoing monitoring of the LEA.

Approval Process

The final output of the CIM process is the required assurances and documentation
about Steps 1 and 2, and the final plan. Depending on the monitoring level, CDE may
require the LEA to submit the assurances, documentation, summaries and plan for
review and approval. For Level 1 Targeted, LEAs will submit only their compliance
information to CDE for corrective action and follow-up. For Level 2 Targeted, LEAs will
submit their plan to their SELPA for review and approval, and the compliance review
output will be sent to CDE for action and follow-up. Finally, LEAs in all differentiated
monitoring levels of intensive monitoring will be required to submit all of the outputs of
their CIM process to CDE for approval and follow-up.

CIM Step 4 – Implementation and Ongoing Monitoring
Once the CIM process Steps 1-3 are complete, including the approved improvement
plan, CDE monitors the LEA’s implementation of that plan. CDE monitors that LEAs are
meeting the milestones and timelines outline in the improvement plan and through
either direct monitoring or communities of practice. CDE will require those LEAs that are
not meeting their timelines and milestones to work directly with CDE to address the

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barriers to implementation and get back on track to full implementation of their activities
and practices that will have the greatest impact on improving outcomes for SWD. CDE
will also review the LEA’s data annually to determine if it is making progress, and in the
event that the LEA continues to demonstrate poor performance, CDE may require the
LEA to revisit CIM Steps 1-2 and update their plan.


Enforcement Activities
Consistent with IDEA, CDE has a series of enforcement activities it can use when it
determines that an LEA is not meeting the requirements of Part B of the IDEA, meaning
a determination level other than “Meets Requirements” and when an LEA does not
correct noncompliance within required timelines. Consistent with the enforcement
mechanisms identified in 34 C.F.R. §300.604 for when an LEA receives a determination
level other than “Meets Requirements,” CDE uses the following enforcement actions as
needed:

   •   Make available technical assistance
   •   Direct technical assistance
   •   Place special conditions on LEA’s funding
   •   Create a corrective action or improvement plan through the CIM process
   •   Withhold funds


Longstanding noncompliance extending beyond the one-year correction period will
result in additional enforcement actions by CDE and will affect the LEA’s annual
determination. Likewise, an LEA’s timely correction of noncompliance will also be
considered in the LEA’s annual determination.

CDE’s enforcement actions due to an LEA’s failure to correct noncompliance are taken
immediately, and involve the imposition of graduated sanctions. CDE may use the
following range of sanctions:

   •   More frequent reporting on progress toward correction (e.g., monthly or quarterly)
   •   Notification to the LEA superintendent of uncorrected noncompliance
   •   Negotiate a compliance agreement requiring corrective action within three years
   •   Consideration of failure to correct in annual local determinations
   •   Special conditions on LEA funding
   •   Ineligibility for IDEA funding
   •   Withhold a portion of funds until noncompliance is corrected
   •   Redirect funds (e.g., earmark funds for specific activities)
   •   Remove the LEA’s ability to apply for any discretionary funds from CDE
   •   Request an audit be conducted of the LEAs financial records
   •   Direct the administration of the LEA’s special education programs
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Small LEA Cyclical Monitoring
The Court found that CDE had identified two alternative, valid options for addressing
challenges in attempting to identify small LEAs 22 for further monitoring. CDE has
decided to use the “cyclical monitoring” option. Thus, each year, CDE will randomly
select one-third of small LEAs to complete three activities: 1) a procedural compliance
review; 2) a timeline compliance review; and, 3) an educational benefit review. LEAs
selected in a given year cannot have participated in the review in the prior two years.

Compliance Review

Each small LEA selected for review is required to complete an independent self-review
of its compliance elements of up to 25 student files of compliance elements and a
policies and procedures review. The attached items are those most closely aligned with
FAPE in the LRE. CDE will provide a training to LEAs about the process for conducting
the review and the LEA will report the outcomes of the review to CDE. CDE will conduct
a random audit of the LEA’s reviewed files to ensure consistency with the expectations,
and that the LEA conducted the review accurately.

CDE will require the LEA to report the results of the compliance review to CDE. CDE
will assign corrective actions and will further monitor the LEA to ensure that the LEA
completes and systemically corrects the noncompliance in accordance with OSEP
Memo 09-02.

Timeline Noncompliance

This type of compliance occurs annually through the review and analysis of student
level data submitted to CDE for compliance with state and federal requirements.
Specifically, CDE examines the data submissions of each LEA to determine if it has met
required timelines set forth in federal and state statutes. CDE will conduct timeline
noncompliance activities for small LEAs in the manner described above with respect to
non-small LEAs.

Educational Benefit Review

CDE will require each small LEA selected for review to conduct an Educational Benefit
Review to assess the provision of FAPE in the LRE by sampling a subset of student
files. CDE will require the Small LEA to participate in a live training and to review
student files with their staff, reporting the results on a Summary of Concerns worksheet.
If the LEA reports noncompliance, CDE verifies the noncompliance, and issues a finding
of noncompliance with required corrective actions. CDE monitors the completion of


22Forthe purpose of determining an LEA size, CDE defines a “small LEA” as serving fewer than or equal
to 100 SWD using the census day count.

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corrective actions and the subsequent reviews to ensure systemic correction in
accordance with OSEP Memo 09-02.

Incorporation into the CIM Process

CDE will examine the results of the three activities conducted as part of the small LEAs
monitoring activities, along with any dispute resolution data, and determine which LEAs
may need a higher level of monitoring, including participation in a modified CIM process.
CDE will only select those small LEAs with systemic concerns of noncompliance to
complete a modified CIM process.


Nonpublic Schools Monitoring
The Court requested that CDE provide a description of the State’s requirements and
processes to certify and monitor Nonpublic, nonsectarian public schools (“NPS”) and
Nonpublic, nonsectarian agencies (“NPA”) (“NPS/A”). 23 In accordance with federal law
regarding the placement of SWD in private schools, (see 20 U.S.C. §1412(a)(10)(B)).
state requirements for the certification and monitoring of NPS/A are explicitly outlined in
California Education Code and California Code of Regulations. (See Cal. Educ. Code
§§ 56365 through 56366.12, and the Cal. Code of Regulations, Title 5, § 3060 et seq.).

As demonstrated below, the State meets these statutory requirements. To be clear,
however, students served by NPS are included in CDE’s special education monitoring
framework. For the purposes of CDE’s special education monitoring framework, CDE
considers an NPS as any other school under the auspices of the contracting LEA. As
such, NPS are required to submit the data required by CALPADS to their contracting
LEA for reporting to the State. Compliance in meeting Part B requirements and the
performance for students placed in NPS are incorporated when CDE analyzes the
contracting LEA’s performance and compliance. CDE evaluates the data for students
served by NPS alongside all other SWD served by the LEA to determine an LEA’s
selection for further monitoring.

NPS/A are part of the continuum of program options that a SELPA makes available to
meet the needs of SWD under IDEA. (See Cal. Educ. Code 56361(f)). It is the intent of
the Legislature that NPS/A are made available and provided pursuant to clear statutory
directives and requirements and in accordance with federal law. (See Cal. Educ. Code §
56366). Enrollment and service provided to students placed in an NPS/A are made
possible through a master contract with an LEA. The certification by CDE permits an

23 NPS and NPA are defined in California Education Code §§ 56034 and 56035, respectively. An NPS

refers to a private, nonsectarian school that enrolls individuals with exceptional needs pursuant to an
individualized education program (IEP). An NPA is a private, nonsectarian establishment or individual that
provides related services necessary for a pupil with exceptional needs to benefit educationally from the
pupils’ IEP. CDE certifies and monitors both NPS/A.

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NPS/A to contract with LEAs and receive public special education funding to meet the
needs of the SWD. Students enrolled in the NPS are deemed to be enrolled in public
schools, and tuition is paid with public funds by the LEA through the master contract
between the LEA and the NPS/A.

State’s Responsibilities for Certification and Monitoring of NPS/A

CDE directly certifies, monitors, and evaluates NPS/A compliance with federal and state
laws and regulations in addition to the indirect monitoring of NPS under the special
education monitoring framework previously described. CDE considers SWD placements
in NPS part of the continuum of services that LEAs must have available for students
with disabilities. LEAs may place students in an NPS only if there is no appropriate
public program available.

Pursuant to California Education Code, an entity that seeks initial or renewed
certification as an NPS/A is directed to file an application with CDE using CDE’s
application forms. (See Cal. Educ. Code §56366.1(a) and Title 5 of the Cal. Code of
Regulations §3060.) CDE provides guidance to completing NPS and NPA applications
on its website. 24

CDE uses a Validation Review to assess the applicant’s operational standards,
instructional materials, and school facility. If the applicant’s operational standards do not
meet current requirements, CDE may deny certification or issue a conditional
certification with required corrective actions. Following the Validation Review, if the
applicant meets all application requirements, CDE will issue the applicant a 90 day
conditional certification, authorizing the new NPS to begin contracting with LEAs to
provide appropriate special education and related services for students. If, after
following the NPS’s conditional certification, an IEP-placed student is enrolled in the
NPS, the NPS obtains a master contract, and the NPS enters into an individual service
agreement with the student’s LEA, CDE will then schedule an Onsite Review with the
conditionally certified NPS to determine whether to certify the NPS. If an NPS fails to
obtain an IEP-placed student, master contract, and individual service agreement within
the 90-day conditional certification window, the conditional certification will expire.

CDE makes a determination of any new NPS/A application within 120 days of an
application submission. Applicants will either be certified, conditionally certified, or
denied. If CDE fails to take one of these actions within 120 days, the applicant is
automatically granted conditional certification for a period terminating on August 31 of




24 See the New or Renewal NPS Application site at https://www.cde.ca.gov/sp/se/ds/npsgeninfo.asp for
NPS application guidance and New or Renewal NPA Application at
https://www.cde.ca.gov/sp/se/ds/npageninfo.asp for NPA guidance. A certified NPS that is relocating
must undergo the same process as a new NPS applicant.

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the current school year. If CDE denies certification, CDE will provide the applicant
reasons for the denial. (Cal. Educ. Code § 56366.1(f).)

CDE annually reviews existing NPS/A certifications and requires certified NPS/A to
annually update their applications between August 1 and October 31.

Monitoring of NPS

In addition to certifying new NPS and conducting an initial Validation Review and Onsite
Review of an NPS, CDE monitors existing NPS as required by statute. Each certified
NPS is placed on a three-year monitoring cycle and is monitored under one of the
reviews outlined below. (See Cal. Ed Code § 56366.1(j)). Unlike CDE’s selection for
LEAs for review, CDE’s identification of NPS for one of the three monitoring reviews is
not based on annual data collection and analysis. However, CDE has the right to
conduct unscheduled monitoring in the event the State has a substantial reason to
believe there are concerns regarding health and safety of students. (Cal. Educ. Code §
56366.1(i)(1)).

In the first year of the three-year monitoring cycle, CDE requires the NPS complete a
Self-Review. In the second year, the NPS participates in an Onsite Review and in year
three, the NPS participates in a Follow-up Visit. (See Cal. Educ. Code § 56366.1(j)(1-
3)).

Self-Review

CDE selects approximately one third of the NPS for a Self-Review each year. The
purpose of Self-Review is for the NPS to monitor its facilities, educational environment,
and the quality of its educational and behavioral program. This includes the teaching
staff, the credentials authorizing service, the standards-based core curriculum being
employed, and the standards-focused instructional materials used by the NPS.

Onsite Review

CDE selects approximately one third of the NPS for an Onsite Review each year. The
purpose of the Onsite Review is for CDE to review the NPS’s facilities, the educational
environment, and the quality of the educational program, including the teaching staff,
the credentials authorizing service, the standards-based core curriculum being used,
and the standards-focused instructional materials used by the NPS. More specifically,
the Onsite Review allows CDE:

      •    To determine whether an NPS is compliant with certification requirements,
           program quality, and IEP implementation, and to provide CDE with
           information regarding key compliance questions related to certification and
           IEP implementation.


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      •    To determine whether the LEAs and SELPAs are providing appropriate
           supervision and monitoring of the special education programs and services.

      •    To provide general supervision to LEAs in accordance with the obligations
           imposed on the State under the IDEA.

CDE begins the Onsite Review with an entrance meeting with NPS staff and a tour of
the NPS facilities. CDE reviews NPS documentation, NPS procedures and programs,
and a sampling of student IEPs and records. CDE observes whether NPS students
have access to the same standards-based core curriculum used by any school district
with which the NPS contracts. Upon conclusion of the review, CDE holds an exit
meeting with NPS staff to review preliminary findings and develop plans to remedy any
issues of noncompliance. Within 60 days of the review, CDE issues a written report to
the NPS and the contracting LEAs that contains any required corrective actions. CDE
continues to monitor the NPS and ensure that the NPS resolves findings of
noncompliance within the required timelines.

Follow up Visit

CDE selects approximately one third of NPS for a Follow up Visit each year. CDE
returns to the site to monitor the NPS facilities, the educational environment, and the
quality of the educational program at an existing NPS. CDE verifies staff credentials,
licenses, and educational documentation, and reviews the NPS’s behavioral programs.
This process addresses areas of concern, follows up on areas in which the NPS was
found noncompliant during the previous year’s Onsite Review, and provides the NPS
technical assistance as needed.

At any given time, all NPS certified by CDE (as part of the application/certification
process) will be somewhere in the three-year cycle of monitoring. Because an Onsite
Review and a Follow up Visit both include an onsite visit, in any given year, CDE will be
conducting onsite visits of two-thirds of the certified NPS. CDE’s NPS onsite visits
typically take place between October and June of each year.

Investigations Process Overview

In addition to the cyclical three-year monitoring cycle, CDE completes certification
compliance investigations according to the following legal requirements:

   1) If there is substantial reason to believe there is an immediate danger to the
      health, safety, or welfare of a child. (Cal. Educ. Code § 56366.1(i)(1));

   2) If evidence is received related to a significant deficiency in the quality of
      educational services provided. (Cal. Educ. Code § 56366.1(i)(2)); and,




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     3) If evidence is received related to noncompliance with the Health and Safety Code
        Section 1501(b). (Cal. Educ. Code § 56366.1(i)(3)).

Phase 2 – SPP Targets, Restraint and Seclusion and
IEP Implementation Updates
SPP Targets
In its 7/5/19 Order, the Court identified concerns with the SPP targets that the State
uses in connection with its data analysis activities and identification of LEAs for further
monitoring. The Court found that the SPP indicators the State used to measure LEA
performance to identify for further monitoring were not sufficiently rigorous.

States are required to develop and implement an SPP, a multi-year, statewide
improvement plan. OSEP defines the instructions and indicators a State must use to
develop the SPP, which includes five compliance indicators, eleven performance
indicators, and one indicator with both compliance and performance components. Every
state is required to submit a new SPP to OSEP at least once every six years.

CDE anticipated that the next six-year cycle would commence with program year 2019.
Accordingly, CDE convened a stakeholder group comprised of individuals from various
backgrounds: educators, parents, school administrators, policy advisors, school
psychologists, Family Empowerment Centers, early education, advocacy groups, state
advisory board members, and Plaintiffs’ counsel in this case. CDE held a series of in-
person and virtual meetings in late summer 2019 that oriented stakeholders with the
performance indicators. The meetings were partnered with detailed presentations to
inform the community members of the history and data trends, and assist them in
making informed recommendations. The presentations included an explanation of how
each indicator is defined, measured, and calculated; an in-depth history of statewide
performance trends over the last five years; and a comparison of how California’s
results compare to other states of similar size and demographics, along with data
forecasting. These meetings provided time for community members to discuss
statewide data, target setting, and how CDE can provide supports for LEAs to meet
more rigorous targets. 25

However, OSEP announced in fall 2019 that it would not be implementing a new six-
year cycle, and directed states to create extension targets and to submit to OSEP by
February 1, 2020. CDE submitted extension targets to both OSEP and to this Court in
its January 31, 2020 State Defendants’ Further Phase 2 Submission (Dkt. 2545).


25 CDE previously provided the Court the Stakeholder Member List, and example of materials presented
to Stakeholders during the late summer 2019 meetings. (Dkt. 2545, Attachment 3 and Attachment 4,
respectively).

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Further, OSEP announced in February 2020 that it would be revising the calculation
methodologies for SPP indicators, beginning with the 2020–21 program year. These
revisions would inform the development of states’ next six-year SPP. In accordance with
federal directives, CDE reconvened its stakeholder group to discuss the changes to key
SPP indicators and provide community partners the opportunity to refine their
recommendations for these targets in light of the revisions. 26

CDE presented proposed targets for the performance indicators for program years
2020–21 through 2025–26 for the State Board of Education’s (“SBE”) consideration at
the September 2021 27 meeting, and consideration for approval at the November 2021 28
meeting. SBE approved the proposed indicator targets at its November 2021 29 meeting
and CDE submitted the approved indicator targets to OSEP on February 1, 2022.

The proposed SPP targets CDE will use as the metrics to assess and determine LEA
performance and identification for targeted monitoring are included as Attachment 3.
For comparison, Attachment 3 includes the previous six-year targets, the extension
year target as well as the new proposed targets. 30 As a reminder, in instances of
overlap, CDE utilizes the Dashboard to identify LEAs for targeted monitoring in the
areas of Graduation Rate (Indicator 1), Statewide Assessment Proficiency (Indicator 3)
and Suspension Rate (Indicators 4a and 4b).


Restraint and Seclusion
Pending Court review is the remaining Phase 2 issue regarding the State’s analysis and
use of restraint and seclusion data is adequate to determine which LEAs need
monitoring intervention in that area. Due to the continued disruption to data collection
efforts posed by the ongoing COVID-19 pandemic, CDE’s has postponed its



26 As original members of CDE Stakeholder Group, Plaintiffs’ counsel was invited again to participate to

review OSEP’s revised calculation methodologies and provide feedback to proposed SPP targets.
Stakeholder engagement was held virtually, and CDE requested participants review and submit final
recommendations prior to the State presenting recommended targets at the public September and
November 2022 SBE meetings.
27 See the California SBE September 2021, Agenda Item 04, New Targets for State Performance Plan

Indicators in the Annual Performance Report for Part B of the Individuals with Disabilities Education Act of
2004, covering program years 2020–21 through 2025–26, available at
https://www.cde.ca.gov/be/ag/ag/yr21/agenda202109.asp.
28 See the California SBE November 2021, Agenda Item 18, available at

https://www.cde.ca.gov/be/ag/ag/yr21/agenda202111.asp.
29 See the California SBE November 3-4, 2021 Final Minutes, Agenda Item 18:

https://www.cde.ca.gov/be/ag/ms/index.asp.
30 OSEP required extension year targets for the 2019 program year. These targets were previously

provided to the Court. See State Defendants’ Further Phase 2 Submission, 1/31/2020 (Dkt. 2545,
Attachment 7, p.200).

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development of a data analysis model to identify LEAs in need of monitoring in the area
of restraint and seclusion.

Effective January 1, 2019, Assembly Bill (AB) 2657 (Statutes of 2018, Chapter 998)
added sections 49005–49006.4 to California’s Education Code regarding the use of
restraint and seclusion with students receiving both general education and special
education. Section 49006 requires CDE to collect and report the data outlined in statute.
In preparation for this data collection, CDE directed LEAs to start collecting this data
locally beginning in fall 2019 for submission to the California Longitudinal Pupil
Achievement Data System (CALPADS). CDE collected restraint and seclusion data for
the first time from LEAs as part of the 2019–20 CALPADS “End-of-Year (EOY) 3”
annual data submission from May to September 2020.

The Governor’s Executive Order issued March 2020 and subsequent school site
closures, affected the SY 19-20 data collection, resulting in a truncated restraint and
seclusion data set. Likewise, because LEAs offered distance learning during SY 20-21,
that year’s restraint and seclusion data was also affected. While CDE still required LEAs
to collect and report restraint and seclusion data to CALPADS in SY 20-21, CDE has
determined that the data set is so affected as to prevent CDE from making adequate
conclusions to determine an effective data analysis model to select LEAs in need of
monitoring in this area.

CDE anticipates that once a data analysis model and designed intervention activities
have been reviewed and approved by the Court, CDE’s monitoring activities in this area
will be folded into the monitoring framework and require identified LEAs to complete the
same CIM process used for all other LEAs in targeted or intensive monitoring. CDE
intends to consider performance in this area when determining an LEA’s Annual
Determination under IDEA Part B.


IEP Implementation
In its June 18, 2021 Order Re Stipulation and Order Regarding State’s Compliance at
Phase 1 – IEP Implementation Data Collection (Dkt. 2644), the Court found that the
State’s data collection methodology was in compliance with federal law because it
allows the state to assess LEAs’ performance in providing the services promised to
SWDs in their annual IEPs. Further, this methodology allows CDE to identify and
determine systemic LEA performance issues to use alongside other data points to
identify LEAs for an appropriate monitoring tier. Given continued challenges posed by
the COVID-19 pandemic, CDE does not yet have sufficient information to determine and
propose an effective data analysis.

As stated during the August 2021 Case Management Conference, CDE will conduct a
pilot prior to the release of the annual data collection.


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The primary goals of the pilot are to test the data collection method and internal
validation measures and determine an appropriate percentage rate the State will use to
measure an LEA’s implementation of IEP services. CDE will collect data from LEAs in
the pilot at the following three percent ranges: 100 to 95 percent of IEP services
implemented, 94.9 to 90 percent of IEP services implemented, and fewer than 90
percent of IEP services implemented.

As of April 2022, the pilot is currently underway. CDE has identified twelve LEAs to
participate, which range in size from approximately 180 SWD to over 76,000 SWD (Los
Angeles Unified School District). In total, the LEAs that CDE identified to participate
serve about 95,000 SWD, approximately 11 percent of the State’s SWD population. 31
Each LEA serves SWD from varying race/ethnicities, grades preschool-twelve, varying
disabilities, settings and SWD also identified under key LCFF subgroups: English
learner, homeless, foster and socioeconomically disadvantaged. CDE will generate
samples based on previously discussed samples sizes (Dkt. 2632, Figure 2, p. 11). In
total, CDE anticipates around 2,500 SWD will be included in this pilot.

CDE has contacted the participating LEAs, notifying them of the timeline, the purpose of
the pilot and general expectations of local analysis and data reporting. CDE is currently
developing a technical assistance guide, complete with data review and reporting
supports, as well as guidance to appropriately use the reporting software to provide to
the participating LEAs in late April. CDE has notified these LEAs that this pilot will
review the period of April 1 to May 31, with the reporting window beginning June 1 to
June 27. CDE will provide these LEAs a random sample of students on June 1.

Beginning in July 2022, CDE will extract the reported data set to continue testing the
reporting system and conduct audits to validate the reported data. As the pilot
progresses, CDE expects to make adjustments to the method of reporting, the technical
assistance provided as well as the audit protocols.




31 All data sourced from CALPADS EOY, school year 2020-2021, the most current school year available.

For SY 2020-2021, the total SWD is 891,355. Source figures provided to demonstrate approximate size
of LEAs in the pilot and the anticipated sample size of files reviewed for IEP implementation in pilot. Exact
count of students in sample will differ.

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                 ATTACHMENT 1
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                                                                                                                          Attachment 1

Criteria Sort into Monitoring Tier, Differentiated Monitoring Level and IDEA Part B Annual Determination

                                      MONITORING TIER                        UNIVERSAL                                             TARGETED                                                             INTENSIVE
                                      DIFFERENTIATED MONITORING LEVEL     Universal Supports         Compliance Only          Level 1           Level 2            Level 3            Level 1              Level 2            Level 3
                                      ANNUAL DETERMINATION                Meets Requirements                                     Needs Assistance                                                    Needs Intervention
                                      Timely/Complete Data Submissions                             Untimely/Incomplete
                                                                                 None
                                                                                                          Data
                                      Fiscal (MOE/SELPA Assurance)                                 MOE/SELPA Assurance
                                                                                 None
 MONITORING IDENTIFICATION CRITERIA




                                                                                                        Concerns

                                                                            No Procedural               Procedural
                                      Procedural Compliance
                                                                            Noncompliance             Noncompliance

                                                                                                                                                                                     Significantly       Significantly       Significantly
                                                                                                                                            Disproportionate   Disproportionate
                                      Disproportionality                  Not Disproportionate                                                                                    Disproportionate    Disproportionate    Disproportionate
                                                                                                                                                 Year 1             Year 2
                                                                                                                                                                                        Year 1              Year 2              Year 3+
                                                                         Targets Met/Not Lowest                           Not Meeting 1-2   Not meeting 3+
                                      Performance                                                                                                              Bottom 11-20%       Bottom 8-10%         Bottom 4-7%        Bottom 0-3%
                                                                               Performing                                     Targets           Targets
                                                                                                                            Not Making
                                                                                                                            Progress on                                             Overdue CA                              Overdue CA
                                      Corrective Actions (CA)             No Corrective Actions      Corrective Actions
                                                                                                                             Corrective                                               1 year                                 2+ years
                                                                                                                              Actions
                                                                         No areas of concern in
                                      NPS Areas of concern                                           Areas of Concern
                                                                             NPS Reviews
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                  ATTACHMENT 2
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                                                                                                                        Attachment 2
Monitoring Tier, Differentiated Monitoring Level and Required Activities

                                   MONITORING TIER                          UNIVERSAL                                                 TARGETED                                                                      INTENSIVE
                                   DIFFERENTIATED MONITORING LEVEL              N/A        Compliance Only            Targeted Level 1        Targeted Level 2        Targeted Level 3       Intensive Level 1     Intensive Level 2    Intensive Level 3
                                                                               Meets
                                   ANNUAL DETERMINATION                                    Needs Assistance           Needs Assistance        Needs Assistance       Needs Assistance       Needs Intervention Needs Intervention Needs Intervention
                                                                            Requirements
                                   CIM PROCESS PARTICIPATION AND                               Not Required;
                                                                                 N/A                                 Required Independent    Required Independent      Required Assisted      Required Assisted     Required Directed    Required Directed
                                   ENGAGEMENT LEVEL                                        Corrective Actions Only

                                   STEP 1: Gather and Inquire
  CIM PROCESS STEPS > ACTIVITIES




                                   Data Drill Down                             Optional          Optional            Required Independent    Required Independent      Required Assisted      Required Assisted     Required Directed    Required Directed
                                   Assessment of Infrastructure                Optional        Optional; CAs               Optional                Optional                Optional           Required Assisted     Required Directed    Required Directed
                                   Policies, Practices, Procedures Review         N               Prong II           Required Independent    Required Independent    Required Independent     Required Directed     Required Directed    Required Directed
                                   Educational Benefit Review                     N                  N                     Optional                Optional                Optional         Required Independent    Required Assisted    Required Directed
                                   Parent Input                                Optional          Optional                  Optional                Optional          Required Independent   Required Independent    Required Directed    Required Directed
                                   STEP 2: Investigate
                                   Root Cause Analysis                         Optional          Optional            Required Independent    Required Independent      Required Assisted      Required Assisted     Required Directed    Required Directed
                                   Prioritization                              Optional          Optional                  Optional                Optional          Required Independent     Required Assisted     Required Directed    Required Directed
                                   Initiative Inventory                        Optional          Optional                  Optional                Optional                Optional         Required Independent    Required Assisted    Required Directed
                                   Theory of Action/Improvement Framework      Optional          Optional                  Optional                Optional                Optional         Required Independent    Required Assisted    Required Directed
                                   STEP 3: Planning
                                   Plan                                        Optional          Optional            Required Independent+   Required Independent+     Required Assisted      Required Directed     Required Directed    Required Directed
                                   Approval                                       N                  N                        N                     SELPA                 SELPA+CDE                 CDE                   CDE                  CDE
                                   Step 4: Monitoring Implementation Plan         N                  N                        N                     SELPA                 SELPA+CDE                 CDE                   CDE                  CDE
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                  ATTACHMENT 3
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                                                                                               Attachment 3

State Performance Plan (SPP) Targets Used to Identify LEAs for Further Monitoring
                                                                             Previous SPP Targets, FFY 2013‐18                    Extension Year 2019‐20              Proposed Targets, FFY 2020‐21 through 2025‐26
SPP Indicator   SPP Indicator Name                          2013‐14   2014‐15      2015‐16      2016‐17       2017‐18   2018‐19          2019‐20           2020‐21   2021‐22     2022‐23       2023‐24       2024‐25   2025‐26
      2         Dropout                                     15.72%    14.72%       13.72%       12.72%        11.72%    10.72%            9.72%              11%       10%          9%            8%           7%        6%
     3a         Assessment Participation                      95%       95%          95%           95%          95%       95%              95%               95%       95%         95%           95%           95%       95%
     5a         LRE: ≥ 80% in the Regular Class              49.2%     49.2%        49.2%        50.2%         51.2%     52.2%            53.2%              58%       60%         62%           64%           67%       70%
     5b         LRE: ≤ 40% in the Regular Class              24.6%     24.6%        24.6%        23.6%         22.6%     21.6%            20.6%             19.5%      18%        16.5%          15%          13.5%      12%
     5c         LRE: Separate Setting                        4.4%      4.4%         4.4%          4.2%          4%       3.8%              3.6%             3.4%      3.2%          3%           2.8%         2.6%      2.4%
                Preschool LRE: Regular Early Childhood
     6a                                                     32.9%      32.9%        32.9%        33.9%        34.9%     35.9%             36.9%             39%       41%          43%           45%          47%       49%
                Programs
    6b          Preschool LRE: Separate Setting             34.4%      34.4%        34.4%        33.4%        32.4%     31.4%             30.4%             33%       31%          29%           27%         25%        23%
     8          Parent Involvement                           90%        90%          90%          91%          92%       93%               94%              95%      95.5%         96%          96.5%        97%       97.5%
    11          Child Find                                  100%       100%         100%         100%         100%      100%              100%              100%     100%          100%         100%         100%      100%
    12          Early Childhood Transition                  100%       100%         100%         100%         100%      100%              100%              100%     100%          100%         100%         100%      100%
    13          Secondary Transition                        100%       100%         100%         100%         100%      100%              100%              100%     100%          100%         100%         100%      100%
    14a         Post School Outcomes: Higher Education      52.3%      52.3%        52.3%        52.3%        53.3%     54.3%             55.3%             55%       56%          57%           58%         59%        60%
                Post School Outcomes: Higher Education or
    14b                                                     72.4%      72.4%        72.4%        72.4%        73.4%     74.4%             75.4%             75%      76.5%         78%          79.5%         81%      82.5%
                Competitively Employed
                Post School Outcomes: Postsecondary
    14c                                                      81%       81%          81%           81%          82%       83%              84%               87%      87.5%         88%          88.5%         89%      89.5%
                Education or Training
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                              CERTIFICATE OF SERVICE
Case Name:      Emma C., et al. v. Thurmond,              No.      3:96-cv-04179-VC
                et al.

I hereby certify that on April 15, 2022, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STATE DEFENDANTS’ PHASE 3 DESIGN SUB-PHASE SUBMISSION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 15,
2022, at Sacramento, California.


            Natalie Y. Quinonez                                 /s/Natalie Y. Quinonez
                 Declarant                                             Signature

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